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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              Case No. 10-CR-256 (RCL)

                v.

TOKIRO RODAS RAMIREZ (16)

                                       PftOPosicrl'oRDER

       Upon consideration of the parties' Joint Motion to Toll Time Under Speedy Trial Act and

the entire record herein, and it appearing that the extradition of the remaining co-defendant to the

United States from Guatemala is still pending, it is this /).�y of October, 2024

       ORDERED, that the motion is granted and the time under the Speedy Trial Act shall be

tolled until the next status conference date.


                                                     ROYCE C. LAMBERTH
                                                     United States District Judge
